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             IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                      CENTRAL DIVISION




 THE SCO GROUP, INC., a Delaware
 corporation,
         Plaintiff and Counterclaim Defendant,            MEMORANDUM DECISION AND
                                                          ORDER DENYING NOVELL’S
                                                          RULE 60(b) MOTION FOR RELIEF
                                                          FROM FINAL JUDGMENT


                vs.


 NOVELL, INC., a Delaware corporation,                    Case No. 2:04-CV-139 TS
         Defendant and Counterclaim Plaintiff.




       This matter is before the Court on Novell’s Rule 60(b) Motion for Relief from Final

Judgment. Defendant asks this Court to set aside the Judgment as it relates to the Court’s finding

that Novell was not entitled to royalties from certain licenses because those licenses were not

SVRX licenses. Defendant argues that this conclusion rested on the Court’s prior conclusion that

Plaintiff did not own the copyrights at issue. As that decision has now been reversed, Defendant

argues that the decision relating to the royalties must also be reversed. Plaintiff argues that

Defendant’s Motion is barred by the mandate rule, is not permitted under Rule 60, and fails on

the merits. The Court agrees that Defendant’s Motion is barred by the mandate rule and, for the

reasons discussed below, the Court will deny Defendant’s Motion.



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                                        I. BACKGROUND

       As the Tenth Circuit stated:

       This case primarily involves a dispute between SCO and Novell regarding the
       scope of intellectual property in certain UNIX and UnixWare technology and
       other rights retained by Novell following the sale of part of its UNIX business to
       Santa Cruz, a predecessor corporate entity to SCO, in the mid-1990s.1

Both parties claim that they are the rightful owner the UNIX and UnixWare copyrights. Pursuant

to the Tenth Circuit’s decision, that issue will be for the jury to decide.

       Defendant now seeks to set aside this Court’s previous decision concerning Defendant’s

entitlement to certain royalties. Defendant argues that Judge Kimball’s decision concerning

those royalties was premised on the decision that it, not Plaintiff, was the owner of the copyrights

at issue. Because that decision has now been reversed, Defendant seeks relief from Judge

Kimball’s decision on the issue of royalties.

       Defendant did not raise this issue on appeal. The Tenth Circuit’s mandate states:

       For the foregoing reasons, we AFFIRM the district court’s judgment with regards
       to the royalties due Novell under the 2003 Sun-SCO Agreement, but REVERSE
       the district court’s entry of summary judgment on (1) the ownership of the UNIX
       and UnixWare copyrights; (2) SCO’s claim seeking specific performance; (3) the
       scope of Novell’s rights under Section 4.16 of the APA; (4) the application of the
       covenant of good faith and fair dealing to Novell’s rights under Section 4.16 of
       the APA. On these issues, we REMAND for trial.2

                                          II. DISCUSSION

       The mandate rule is an “important corollary” to the law of the case doctrine.3 “The

mandate rule is a ‘discretion-guiding rule’ that ‘generally requires trial court conformity with the


       1
           The SCO Group, Inc. v. Novell, Inc., 578 F.3d 1201, 1204 (10th Cir. 2009).
       2
           Id. at 1227.
       3
           Huffman v. Saul Holdings Ltd. P’ship, 262 F.3d 1128, 1132 (10th Cir. 2001).

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articulated appellate remand,’ subject to certain recognized exceptions.”4 The mandate rule

“provides that a district court must comply strictly with the mandate rendered by the reviewing

court.”5 While “a district court is bound to follow the mandate, and the mandate ‘controls all

matters within its scope, . . . a district court on remand is free to pass upon any issue which was

not expressly or impliedly disposed of on appeal.’”6 However, the mandate rule prevents a court

from considering an argument that could have been, but was not, made on appeal.7


       4
       United States v. Hicks, 146 F.3d 1198, 1200 (10th Cir. 1998) (quoting United States v.
Moore, 83 F.3d 1231, 1234 (10th Cir. 1996)).
       5
           Huffman, 262 F.3d at 1132 (quotation marks and citation omitted).
       6
       Procter & Gamble Co. v. Haugen, 317 F.3d 1121, 1126 (10th Cir. 2003) (quoting
Newball v. Offshore Logistics Int’l, 803 F.2d 821, 826 (5th Cir. 1986)).
       7
         United States v. Webb, 98 F.3d 585, 589 (10th Cir. 1996) (noting that because an issue
was not appealed the district court’s ruling became final and court did not err in declining to
address it on remand); see also Doe v. Chao, 511 F.3d 461, 465 (4th Cir. 2007) (stating that “any
issue that could have been but was not raised on appeal is waived and thus not remanded”);
United States v. Lee, 358 F.3d 315, 324 (5th Cir. 2004) (“All other issues not arising out of [the
appellate] court’s ruling and not raised in the appeals court, which could have been brought in
the original appeal, are not proper for reconsideration by the district court below.”); S. Atl. Ltd.
P’ship of Tenn, LP v. Riese, 356 F.3d 576, 584 (4th Cir. 2004) (stating that “the mandate rule
forecloses litigation of issues decided by the district court but foregone on appeal or otherwise
waived”) (quotation marks and citation omitted); United States v. Husband, 312 F.3d 247, 250
(7th Cir. 2002) (“[A]ny issue that could have been but was not raised on appeal is waived and
thus not remanded.”); United States v. Stanley, 54 F.3d 103, 107 (2d Cir. 1995) (holding that
mandate rule prevents district court from revisiting issue not raised in initial appeal); United
States v. Bell, 988 F.2d 247, 250 (1st Cir. 1993) (“The black letter rule governing this point is
that a legal decision made at one stage of a civil or criminal case, unchallenged in a subsequent
appeal despite the existence of ample opportunity to do so, becomes the law of the case for future
stages of the same litigation, and the aggrieved party is deemed to have forfeited any right to
challenge that particular decision at a subsequent date.”); Williamsburg Wax Museum, Inc. v.
Historic Figures, Inc., 810 F.2d 243, 250 (D.C. Cir. 1987) (“Under law of the case doctrine, a
legal decision made at one stage of the litigation, unchallenged in a subsequent appeal when the
opportunity to do existed, become the law of the case for future stages of the same litigation, and
the parties are deemed to have waived the right to challenge that decision at a later time.”); 5
Am. Jur. 2d Appellate Review § 741 (“[A] court on remand may refuse to consider matters that
could have been appealed, but were not.”)

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       Here, the argument raised by Defendant in its Motion could have, and should have, been

raised on appeal. Defendant could have easily argued to the Tenth Circuit that, if this Court’s

decision concerning the ownership of the copyrights was reversed, the decision concerning

royalties should similarly be reversed. They did not. The Court cannot ignore Defendant’s

decision not to address this issue on appeal.

       Further, the Court must take into consideration the limited nature of the mandate. As set

forth above, that mandate is as follows:

       For the foregoing reasons, we AFFIRM the district court’s judgment with regards
       to the royalties due Novell under the 2003 Sun-SCO Agreement, but REVERSE
       the district court’s entry of summary judgment on (1) the ownership of the UNIX
       and UnixWare copyrights; (2) SCO’s claim seeking specific performance; (3) the
       scope of Novell’s rights under Section 4.16 of the APA; (4) the application of the
       covenant of good faith and fair dealing to Novell’s rights under Section 4.16 of
       the APA. On these issues, we REMAND for trial.8

This is not a general mandate.9 The mandate is very specific. The Tenth Circuit has remanded

this matter to the Court for trial on those four specific issues identified in the mandate. Because

of the specific nature of the mandate, the Court is not free to explore matters outside of it. Even

if the Court could do so, the Court is not inclined to allow the parties to litigate this case anew.

       “[A] district court may deviate from the mandate ‘under exceptional circumstances,

including (1) a dramatic change in controlling legal authority; (2) significant new evidence that

was not earlier obtainable through due diligence but has since come to light; or (3) if blatant error




       8
           The SCO Group, Inc. 578 F.3d at 1227.
       9
          Procter & Gamble Co., 317 F.3d at 1125 (“[W]hen the remand is general, however, the
district court is free to decide anything not foreclosed by the mandate.”) (quotation marks and
citation omitted).

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from the prior . . . decision would result in serious injustice if uncorrected.’”10 None of these

circumstances are present here.

       The Court further finds that those cases cited by Defendant are unconvincing in that they

are dissimilar to the facts presented here and/or do not apply the mandate rule as adopted in the

Tenth Circuit.

       It is therefore

       ORDERED that Novell’s Rule 60(b) Motion for Relief from Final Judgment (Docket No.

608) is DENIED. The hearing set for February 4, 2010, is STRICKEN.

       DATED January 28, 2010.

                                               BY THE COURT:


                                               _____________________________________
                                               TED STEWART
                                               United States District Judge




       10
            Huffman, 262 F.3d at 1133 (quoting Webb, 98 F.3d at 587).

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